EXHIBIT C
Movant's Purchases and Losses                                                   Class Period: 05/31/2018 - 11/19/2018                                                   L Brands

                                                                   Shares                     Total                     Shares               Total         Total
                          Name                         Date       Acquired        Price        Cost         Date         Sold     Price    Proceeds     Gain (Loss)*
                          Daniel B. O'Leary         11/09/2018      3,116        $36.25    $112,955.00      held        16,524   $28.47   $470,390.67
                                                    11/12/2018      3,447        $37.60    $129,607.20
                                                    11/12/2018      2,906        $37.60    $109,265.60
                                                    11/12/2018      4,525        $37.60    $170,140.00
                                                    11/12/2018      1,202        $37.60     $45,195.20
                                                    11/12/2018      1,328        $37.60     $49,932.80

                          Movant's Total                           16,524                  $617,095.80                  16,524            $470,390.67   ($146,705.13)


                          *For shares held at the end of the class period, losses are calculated by multiplying the shares held by the average share price
                           during the 90 calendar days after the end of the class period. The price used is $28.47 as of February 15, 2019 for common stock.

                          Prices listed are rounded up to two decimal places.
